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Celgene Corporation

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


CELGENE CORPORATION,
                                                     Civil Action No. ________________
                          Plaintiff,
       v.                                            COMPLAINT FOR
                                                     PATENT INFRINGEMENT
AUROBINDO PHARMA LIMITED,
EUGIA PHARMA SPECIALITIES                            (Filed Electronically)
LIMITED, AUROBINDO PHARMA USA,
INC., and AUROLIFE PHARMA LLC,

                          Defendants.


       Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Aurobindo Pharma Limited (“Aurobindo Limited”), Eugia Pharma

Specialities Limited (“Eugia”), Aurobindo Pharma USA, Inc. (“Aurobindo USA”), and Aurolife

Pharma LLC (“Aurolife”) (collectively, “Aurobindo” or “Defendants”), alleges as follows:

                                        Nature of the Action

       1.      This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. §100, et seq., arising from Defendants’ filing of Abbreviated New Drug

Application (“ANDA”) No. 213885 (“Defendants’ ANDA”) with the United States Food and

Drug Administration (“FDA”) seeking approval to commercially market generic versions of




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Celgene’s REVLIMID® drug products prior to the expiration of United States Patent Nos.

7,465,800 (“the ’800 patent”), 7,855,217 (“the ’217 patent”), 7,968,569 (“the ’569 patent”),

8,530,498 (“the ’498 patent”), 8,648,095 (“the ’095 patent”), 9,101,621 (“the ’621 patent”), and

9,101,622 (“the ’622 patent”) (collectively, “the patents-in-suit”), owned by Celgene.

                                           The Parties

       2.      Plaintiff Celgene is a biopharmaceutical company committed to improving the

lives of patients worldwide. Celgene focuses on, and invests heavily in, the discovery and

development of products for the treatment of severe and life-threatening conditions. Celgene is a

world leader in the treatment of many such diseases, including cancer. Celgene is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 86 Morris Avenue, Summit, New Jersey 07901.

       3.      On information and belief, Defendant Aurobindo Limited is a company organized

and existing under the laws of India, having a principal place of business at Maitri Vihar, Plot #2,

Ameerpet, Hyderabad - 500038, Telangana, India.

       4.      On information and belief, Defendant Eugia is a company organized and existing

under the laws of India, having a principal place of business at Maitri Vihar, Plot #2, Ameerpet,

Hyderabad - 500038, Telangana, India.

       5.      On information and belief, Eugia is controlled by Aurobindo Limited.

       6.      On information and belief, Eugia is a subsidiary of Aurobindo Limited.

       7.      On information and belief, Defendant Aurobindo USA is a company organized

and existing under the laws of the State of Delaware, having a principal place of business at 279

Princeton Hightstown Road, East Windsor, New Jersey 08520.




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       8.      On information and belief, Aurobindo USA is a wholly owned subsidiary of

Aurobindo Limited.

       9.      On information and belief, Aurobindo Limited and Eugia, directly or through

their subsidiaries, including Aurobindo USA, sell and market pharmaceutical products

throughout the United States, including in this Judicial District.

       10.     On information and belief, Defendant Aurolife is a corporation existing under the

laws of the State of Delaware, having a principal place of business at 2400 Route 130 North,

Dayton, New Jersey 08810.

       11.     On information and belief, Aurolife is a wholly owned subsidiary of Aurobindo

USA.

                                       The Patents-in-Suit

       12.     On December 16, 2008, the United States Patent and Trademark Office

(“USPTO”) duly and lawfully issued the ’800 patent, entitled, “Polymorphic Forms of 3-(4-

amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-2,6-dione,” to Celgene as assignee. A copy

of the ’800 patent is attached hereto as Exhibit A.

       13.     On December 21, 2010, the USPTO duly and lawfully issued the ’217 patent,

entitled, “Polymorphic Forms of 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-2,6-

dione,” to Celgene as assignee. A copy of the ’217 patent is attached hereto as Exhibit B.

       14.     On June 28, 2011, the USPTO duly and lawfully issued the ’569 patent, entitled,

“Methods For Treatment of Multiple Myeloma Using 3-(4-amino-1-oxo-1,3-dihydro-isoindol-2-

yl)-piperidine-2,6-dione,” to Celgene as assignee. A copy of the ’569 patent is attached hereto as

Exhibit C.




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       15.      On September 10, 2013, the USPTO duly and lawfully issued the ’498 patent,

entitled, “Methods For Treating Multiple Myeloma With 3-(4-amino-1-oxo-1,3-dihydroisoindol-

2-yl)piperidine-2,6-dione,” to Celgene as assignee. A copy of the ’498 patent is attached hereto

as Exhibit D.

       16.      On February 11, 2014, the USPTO duly and lawfully issued the ’095 patent,

entitled, “Methods For Treating Multiple Myeloma Using 3-(4-amino-1-oxo-1,3-

dihydroisoindol-2-yl)-piperidine-2,6-dione In Combination With Proteasome Inhibitor,” to

Celgene as assignee. A copy of the ’095 patent is attached hereto as Exhibit E.

       17.      On August 11, 2015, the USPTO duly and lawfully issued the ’621 patent,

entitled, “Methods For Treating Multiple Myeloma With 3-(4-amino-1-oxo-1,3-dihydro-

isoindol-2-yl)-piperidine-2,6-dione After Stem Cell Transplantation,” to Celgene as assignee. A

copy of the ’621 patent is attached hereto as Exhibit F.

       18.      On August 11, 2015, the USPTO duly and lawfully issued the ’622 patent,

entitled, “Methods For Treating Newly Diagnosed Multiple Myeloma 3-(4-amino-1-oxo-1,3-

dihydro-isoindol-2-yl)-piperidine-2,6-dione In Combination With Dexamethasone,” to Celgene

as assignee. A copy of the ’622 patent is attached hereto as Exhibit G.

                                  The Revlimid® Drug Product

       19.      Celgene holds an approved New Drug Application (“NDA”) under Section 505(a)

of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for lenalidomide

capsules (NDA No. 021880), which it sells under the trade name REVLIMID®.

       20.      The claims of the patents-in-suit cover, inter alia, solid forms of lenalidomide,

pharmaceutical compositions containing lenalidomide, and methods of use and administration of

lenalidomide or pharmaceutical compositions containing lenalidomide.




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       21.     Pursuant to 21 U.S.C. § 355(b)(1) and attendant FDA regulations, the patents-in-

suit are listed in the FDA publication, “Approved Drug Products with Therapeutic Equivalence

Evaluations” (the “Orange Book”), with respect to REVLIMID®.

       22.     The labeling for REVLIMID® instructs and encourages physicians, pharmacists, and

other healthcare workers and patients to administer REVLIMID® according to one or more of the

methods claimed in the patents-in-suit.

                                      Jurisdiction and Venue

       23.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       24.     This Court has personal jurisdiction over Aurobindo USA by virtue of, inter alia,

its systematic and continuous contacts with the State of New Jersey. On information and belief,

Aurobindo USA’s principal place of business is in East Windsor, New Jersey. On information

and belief, Aurobindo USA is registered with the State of New Jersey’s Division of Revenue and

Enterprise Services as a business operating in New Jersey under Business ID No. 0100921223.

On information and belief, Aurobindo USA is registered with the State of New Jersey’s

Department of Health as a drug wholesaler under Registration No. 5003120. On information and

belief, Aurobindo USA purposefully has conducted and continues to conduct business in this

Judicial District. By virtue of its physical presence in New Jersey, this Court has personal

jurisdiction over Aurobindo USA.

       25.     On information and belief, Aurobindo USA is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District. On information and belief, this Judicial District will be a destination for the




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generic drug products described in ANDA No. 213885. On information and belief, Aurobindo

USA also prepares and/or aids in the preparation and submission of ANDAs to the FDA.

       26.     This Court has personal jurisdiction over Aurolife by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief

Aurolife’s principal place of business is in Dayton, New Jersey. On information and belief,

Aurolife is registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business ID No. 0600322732. On

information and belief, Aurolife is registered with the State of New Jersey’s Department of

Health as a drug wholesaler under Registration No. 5003810. On information and belief,

Aurolife purposefully has conducted and continues to conduct business in this Judicial District.

By virtue of its physical presence in New Jersey, this Court has personal jurisdiction over

Aurolife.

       27.     On information and belief, Aurolife is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

On information and belief, this Judicial District will be a destination for the generic drug

products described in ANDA No. 213885. On information and belief, Aurolife also prepares

and/or aids in the preparation and submission of ANDAs to the FDA.

       28.     On information and belief, Defendants have a regular and established, physical

place of business in New Jersey.

       29.     This Court has personal jurisdiction over Aurobindo Limited and Eugia because,

inter alia, they: (1) have purposefully availed themselves of the privilege of doing business in

New Jersey, including directly or indirectly through its subsidiaries, agents, and/or alter egos,




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Aurobindo USA and Aurolife, companies with principal places of business in New Jersey; and

(2) maintain extensive and systematic contacts with the State of New Jersey, including the

marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey including

through, directly or indirectly, Aurobindo USA and Aurolife.

        30.     This Court has personal jurisdiction over Aurobindo because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and has sent notice of that

infringement to Celgene in the State of New Jersey. On information and belief, Aurobindo

intends a future course of conduct that includes acts of patent infringement in New Jersey. These

acts have led and will continue to lead to foreseeable harm and injury to Celgene in New Jersey

and in this Judicial District.

        31.     Aurobindo Limited’s Annual Report 2018-19 states that Aurobindo “[f]iled 63

ANDAs with the USFDA [during 2018-19], including 21 injectables, 3 dermatology and 2

nasals.” See Aurobindo Limited Annual Report 2018-19 (“Aurobindo Annual Report”), at 6,

available at https://www.aurobindo.com/wp-content/uploads/2019/08/APL-Annual-Report-

2018-19.pdf (last visited January 8, 2020). It further states that “[t]he US business contributed to

46% of our revenue.” Id. at 12. It further states that the “key markets . . . are the US and

Europe, which represents ~72% of consolidated revenues” and that Aurobindo is “the 2nd largest

generic pharma company in the USA as per IQVIA total prescriptions dispensed data for 12

months ending in March 2019.” Id. at 78.

        32.     Aurolife’s website states that “Aurolife is a 100% owned subsidiary of Aurobindo

Pharma USA Inc.” About Aurolife, http://www.aurolifepharma.com/aboutus.html (last visited

January 8, 2020). Its website further notes that “Aurolife is also in the process of constructing a

large facility at Dayton, New Jersey to cater for the storage and distribution of drugs for




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Aurobindo group of companies in USA.” Id. It further notes that “[t]he [Aurobindo] group’s

flag ship company, Aurobindo Pharma Ltd . . . is an Indian based, multinational company, with

headquarters in Hyderabad, India” and that “Aurolife is exclusively created to address the US

pharmaceutical manufacturing needs and to address market opportunities.” Id.

        33.     On information and belief, Aurobindo Limited, Eugia, Aurobindo USA, and

Aurolife work in concert either directly or indirectly through one or more of their wholly owned

subsidiaries with respect to the regulatory approval, manufacturing, marketing, sale, and

distribution of generic pharmaceutical products throughout the United States, including in this

Judicial District.

        34.     On information and belief, Aurobindo USA, Aurolife, and Eugia act at the

direction, and for the benefit, of Aurobindo Limited, and are controlled and/or dominated by

Aurobindo Limited.

        35.     On information and belief, Aurobindo Limited and Aurobindo USA have

previously been sued in this Judicial District and have not challenged personal jurisdiction. See,

e.g., Celgene Corporation v. Aurobindo Pharma Limited, et al., Civil Action No. 19-5799

(ES)(MAH) (D.N.J.); Celgene Corporation v. Aurobindo Pharma Limited, et al., Civil Action

No. 19-0143 (ES)(MAH) (D.N.J.); Celgene Corporation v. Hetero Labs Limited, et al., Civil

Action No. 17-3387 (ES)(MAH) (D.N.J.); AstraZeneca AB, et al. v. Aurobindo Pharma Ltd., et

al., Civil Action No. 13-7298 (MLC)(TJB) (D.N.J.); Otsuka Pharm. Co., Ltd. v. Aurobindo

Pharma Ltd., et al., Civil Action No. 14-6890 (JBS)(KMW) (D.N.J.).

        36.     Aurolife has admitted that it is subject to personal jurisdiction in this Judicial

District. See, e.g., Otsuka Pharm. Co., Ltd. v. Aurobindo Pharma Ltd., et al., Civil Action No.

14-6890 (JBS)(KMW) (D.N.J.), Dkt. No. 9, ¶ 10.




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        37.     Aurobindo USA and Aurobindo Limited have further availed themselves of the

jurisdiction of this Court by previously initiating litigation in this Judicial District. See

Aurobindo Pharma USA Inc., et al. v. Apicore US LLC, et al., Civil Action No. 16-3358

(RMB)(KMW) (D.N.J.).

        38.     Aurobindo Limited has further availed itself of the jurisdiction of this Court by

previously initiating litigation in this Judicial District. See, e.g., Aurobindo Pharma Ltd., et al. v.

AstraZeneca AB, et al., Civil Action No. 16-5079 (PGS)(TJB) (D.N.J.).

        39.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

1400(b).

                                   Acts Giving Rise To This Suit

        40.     Pursuant to Section 505 of the FFDCA, Defendants filed Defendants’ ANDA

seeking approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation into the United States of lenalidomide capsules 2.5 mg, 5 mg, 10 mg, 15 mg, 20 mg,

and 25 mg (“Defendants’ Proposed Products”), before the patents-in-suit expire.

        41.     On information and belief, following FDA approval of Defendants’ ANDA,

Defendants will make, use, offer for sale, or sell Defendants’ Proposed Products throughout the

United States, or import such generic products into the United States.

        42.     On information and belief, in connection with the filing of their ANDA as

described above, Defendants provided a written certification to the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) (“Defendants’ Paragraph IV Certification”), alleging that the claims of

the ’800 patent, the ’217 patent, the ’569 patent, the ’498 patent, the ’095 patent, and the ’622

patent are invalid, unenforceable, and/or will not be infringed by the activities described in

Defendants’ ANDA.




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         43.      No earlier than November 25, 2019, Defendants sent written notice of their

 Paragraph IV Certification to Celgene (“Defendants’ Notice Letter”). Defendants’ Notice Letter

 alleged that the claims of the ’800 patent, the ’217 patent, the ’569 patent, the ’498 patent, the

 ’095 patent, and the ’622 patent are invalid, unenforceable, and/or will not be infringed by the

 activities described in Defendants’ ANDA. Defendants’ Notice Letter also informed Celgene

 that Defendants seek approval to market Defendants’ Proposed Products before the patents-in-

 suit expire. Defendants specifically directed Defendants’ Notice Letter to Celgene’s

 headquarters in Summit, New Jersey, in this Judicial District.

                                  Count I: Infringement of the ’800 Patent

         44.      Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         45.      Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’800 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         46.      There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’800 patent.

         47.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’800 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

         48.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’800 patent under 35 U.S.C.




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 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’800 patent and knowledge that their acts are encouraging infringement.

         49.     Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’800 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’800 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

         50.     Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’800 patent is not enjoined.

         51.     Celgene does not have an adequate remedy at law.

         52.     This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                Count II: Infringement of the ’217 Patent

         53.     Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         54.     Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’217 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).




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        55.       There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’217 patent.

        56.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’217 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

        57.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’217 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’217 patent and knowledge that their acts are encouraging infringement.

        58.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’217 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’217 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

        59.       Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’217 patent is not enjoined.

        60.       Celgene does not have an adequate remedy at law.




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         61.      This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                 Count III: Infringement of the ’569 Patent

         62.      Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         63.      Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’569 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         64.      There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’569 patent.

         65.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’569 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

         66.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’569 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’569 patent and knowledge that their acts are encouraging infringement.

         67.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’569 patent under 35 U.S.C.




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 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’569 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

         68.      Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’569 patent is not enjoined.

         69.      Celgene does not have an adequate remedy at law.

         70.      This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                 Count IV: Infringement of the ’498 Patent

         71.      Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         72.      Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’498 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         73.      There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’498 patent.

         74.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’498 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.




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         75.     Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’498 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’498 patent and knowledge their acts are encouraging infringement.

         76.     Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’498 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’498 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

         77.     Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’498 patent is not enjoined.

         78.     Celgene does not have an adequate remedy at law.

         79.     This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                Count V: Infringement of the ’095 Patent

         80.     Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         81.     Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’




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 Proposed Products, prior to the expiration of the ’095 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

        82.       There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’095 patent.

        83.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’095 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

        84.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’095 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’095 patent and knowledge that their acts are encouraging infringement.

        85.       Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’095 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’095 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

        86.       Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’095 patent is not enjoined.




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         87.      Celgene does not have an adequate remedy at law.

         88.      This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                 Count VI: Infringement of the ’621 Patent

         89.      Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         90.      Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’621 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         91.      There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’621 patent.

         92.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’621 patent under 35 U.S.C. § 271(a) by

 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

         93.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’621 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’621 patent and knowledge that their acts are encouraging infringement.




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         94.     Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’621 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’621 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

         95.     Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’621 patent is not enjoined.

         96.     Celgene does not have an adequate remedy at law.

         97.     This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                               Count VII: Infringement of the ’622 Patent

         98.     Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         99.     Defendants’ submission of their ANDA to engage in the commercial

 manufacture, use, offer for sale, sale, or importation into the United States of Defendants’

 Proposed Products, prior to the expiration of the ’622 patent, constitutes infringement of one or

 more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

         100.    There is a justiciable controversy between Celgene and Defendants as to the

 infringement of the ’622 patent.

         101.    Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will infringe one or more claims of the ’622 patent under 35 U.S.C. § 271(a) by




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 making, using, offering to sell, selling, and/or importing Defendants’ Proposed Products in the

 United States.

        102.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will induce infringement of one or more claims of the ’622 patent under 35 U.S.C.

 § 271(b) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, upon FDA approval of Defendants’

 ANDA, Defendants will intentionally encourage acts of direct infringement with knowledge of

 the ’622 patent and knowledge that their acts are encouraging infringement.

        103.      Unless enjoined by this Court, upon FDA approval of Defendants’ ANDA,

 Defendants will contributorily infringe one or more claims of the ’622 patent under 35 U.S.C.

 § 271(c) by making, using, offering to sell, selling, and/or importing Defendants’ Proposed

 Products in the United States. On information and belief, Defendants have had and continue to

 have knowledge that Defendants’ Proposed Products are especially adapted for a use that

 infringes one or more claims of the ’622 patent and that there is no substantial non-infringing use

 for Defendants’ Proposed Products.

        104.      Celgene will be substantially and irreparably damaged and harmed if Defendants’

 infringement of the ’622 patent is not enjoined.

        105.      Celgene does not have an adequate remedy at law.

        106.      This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Celgene respectfully requests the following relief:




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         (A)     A Judgment that Defendants have infringed the patents-in-suit by submitting

 ANDA No. 213885;

         (B)     A Judgment that Defendants have infringed, and that Defendants’ making, using,

 offering to sell, selling, or importing Defendants’ Proposed Products will infringe one or more

 claims of the patents-in-suit;

         (C)     An Order that the effective date of FDA approval of ANDA No. 213885 be a date

 which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

 exclusivity to which Celgene is or becomes entitled;

         (D)     Preliminary and permanent injunctions enjoining Defendants and their officers,

 agents, attorneys and employees, and those acting in privity or concert with them, from making,

 using, offering to sell, selling, or importing Defendants’ Proposed Products until after the

 expiration of the patents-in-suit, or any later expiration of exclusivity to which Celgene is or

 becomes entitled;

         (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

 enjoining Defendants, their officers, agents, attorneys and employees, and those acting in privity

 or concert with them, from practicing any solid forms of lenalidomide, compositions, or methods

 claimed in the patents-in-suit, or from actively inducing or contributing to the infringement of

 any claim of the patents-in-suit, until after the expiration of the patents-in-suit, or any later

 expiration of exclusivity to which Celgene is or becomes entitled;

         (F)     A Judgment that the commercial manufacture, use, offer for sale, sale, and/or

 importation into the United States of Defendants’ Proposed Products will directly infringe,

 induce and/or contribute to infringement of the patents-in-suit;




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        (G)     To the extent that Defendants have committed any acts with respect to the solid

 forms of lenalidomide, compositions, or methods claimed in the patents-in-suit, other than those

 acts expressly exempted by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for

 such acts;

        (H)     If Defendants engage in the commercial manufacture, use, offer for sale, sale,

 and/or importation into the United States of Defendants’ Proposed Products prior to the

 expiration of the patents-in-suit, a Judgment awarding damages to Celgene resulting from such

 infringement, together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

 awarding Celgene its attorneys’ fees incurred in this action;

        (K)     A Judgment awarding Celgene its costs and expenses incurred in this action; and

        (L)     Such further and other relief as this Court may deem just and proper.




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                  CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

        Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matters captioned

 Celgene Corporation v. Dr. Reddy’s Laboratories, Ltd., et al., Civil Action No. 16-7704

 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Zydus Pharmaceuticals (USA) Inc., et al., Civil

 Action No. 17-2528 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Cipla Limited, Civil Action

 No. 17-6163 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Cipla Limited, Civil Action No.

 19-14731 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Apotex, Inc., Civil Action No. 18-461

 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Sun Pharmaceutical Industries, Inc., et al., Civil

 Action No. 18-11630 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Hetero Labs Limited, et

 al., Civil Action No. 18-17463 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Hetero Labs

 Limited, et al., Civil Action No. 19-15449 (SDW)(LDW) (D.N.J.); and Celgene Corporation v.

 Mylan Pharmaceuticals Inc., et al., Civil Action No. 19-22231 (SDW)(LDW) (D.N.J.) are

 related to the matter in controversy because the matter in controversy involves the same plaintiff,

 some of the same patents, and defendants seeking FDA approval to market generic versions of

 the same pharmaceutical product.

        I further certify that, to the best of my knowledge, the matter in controversy is not the

 subject of any other action pending in any court, or of any pending arbitration or administrative

 proceeding.




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